       Case 1:17-cv-06546-AKH Document 21 Filed 11/17/17 Page 1 of 3




                   THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK


VEREIT, Inc.,

                   Plaintiff,            Civil Action No.: 17-cv-06546-AKH
      v.

Nicholas S. Schorsch, Peter M. Budko,
William M. Kahane, and Edward M. Weil,

                   Defendants.



NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE UNDER SEAL CERTAIN
  EXHIBITS TO THE DECLARATION OF JONATHAN OHRING IN SUPPORT OF
   PLAINTIFF VEREIT, INC.’S MEMORANDUM OF LAW IN OPPOSITION TO
              DEFENDANTS’ MOTION TO DISMISS OR STAY
         Case 1:17-cv-06546-AKH Document 21 Filed 11/17/17 Page 2 of 3



       PLEASE TAKE NOTICE that pursuant to Rule 4(B)(i) of this Court’s Individual Rules of

Practice, Plaintiff VEREIT, Inc. (“VEREIT”), formerly known as American Realty Capital

Properties, Inc., by its undersigned attorneys, hereby moves the Court for leave to file under seal

a partially-redacted copy of Exhibits D and fully-redacted copies of Exhibits F through H and

Exhibits K through P to the Declaration of Jonathan Ohring, filed contemporaneously herewith.

       Exhibit D is a true and correct copy of an agreement between VEREIT and VEREIT

Operating Partnership, L.P., formerly known as ARC Properties Operating Partnership, L.P., on

the one hand, and Defendants, on the other hand, entered into on November 20, 2015, which tolled

certain claims between the parties (the “Tolling Agreement”). The Tolling Agreement contains a

reference to a separate agreement, which contains a confidentiality provision prohibiting its

disclosure. Accordingly, VEREIT seeks to redact on page 1 of the Tolling Agreement the

reference to that separate agreement.

       Exhibits F through H are true and correct copies of filings in an action in the Supreme

Court of New York, New York County, captioned VEREIT Operating Partnership, L.P. v. Weil,

et. al., Index No. 655580/2017, which were filed entirely under seal in accordance with applicable

New York law, including Section 216.1 of the Uniform Rules for New York State Trial Courts.

Accordingly, VEREIT seeks to file these documents under seal.

       Exhibits K through P are true and correct copies of filings in an action in the Delaware

Court of Chancery captioned Weil, et. al. v. VEREIT Operating Partnership, L.P., et. al., C.A. No.

2017-0613-JTL (Del. Ch. filed Aug. 29, 2017), which were filed confidentially in accordance

Delaware law, including Rule 5.1 of the Rules of the Delaware Court of Chancery. Pursuant to

such rules, access to these filings is prohibited except as authorized by court order. Accordingly,

VEREIT seeks to file these documents under seal.
         Case 1:17-cv-06546-AKH Document 21 Filed 11/17/17 Page 3 of 3



       Therefore, pursuant to Rule 4(B)(i) of this Court’s Individual Rules of Practice, VEREIT

is contemporaneously herewith (i) filing on ECF a partially-redacted copy of Exhibit D and fully-

redacted copies of Exhibits F through H and Exhibits K through P, (ii) submitting unredacted

copies of the same to the Court, and (iii) serving upon the Defendants in the above-captioned action

unredacted copies of the same.



Dated: November 17, 2017
       New York, New York


                                                 MILBANK, TWEED, HADLEY
                                                 & McCLOY LLP

                                                 By: /s/ Jonathan Ohring
                                                 Scott A. Edelman
                                                 Alan J. Stone
                                                 Jonathan Ohring
                                                 28 Liberty Street
                                                 New York, New York 10005
                                                 Telephone: (212) 530-5000
                                                 Facsimile: (212) 506-5219

                                                 Attorneys for Plaintiff VEREIT, Inc.
